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                                                                             #:3321 of 1


                                                          UNITED STATES DISTRICT COURT
                                                         CENTRAL DISTRICT OF CALIFORNIA

 iJNITED STATES OF AMERICA,                                                   ~   Western Division
                                                                   Plaintiff, ~
                                      vs.                                     I   Case Number: 2:21-CR-00259-AB-3           Indictment
                                                                              ~   Initial App. Date: 07/18/2022             Custody
 I¢or Panchernikov                                                            ~   Initial App. Time: 1:00 PM




                                                                 Defendant.       Date Filed: 05/26/2021
                                                                                  Violation: 222778; 18:981

                                                                                  CourtSmart/ Reporter:

         PROCEEDINGS HELD BEFORE UNITED STATES                                ~                      CALENDAR/PROCEEDINGS SHEET
             MAGISTRATE JUDGE: Charles F. Eick                                ~                       LOCAL/OUT-OF-DISTRICT CASE



       PRESENT:                   Munroe, Valencia                 ~~i ~                                      / ~~~~R ~s ~~~ _. .. .l
                                                                                                                                                                /YLG~_J~
                                                                                                        1tiQJlL
                         Deputy Clerk                                         Assistant U.S. Attorney                    Interpreter/Language
           ~INI AL APPEARANCE NOT HELD -CONTINUED
               ou       sues Order under Fed. R. Crim. P. 5(~ concerning prosecutor's disclosure obligations; see General Order 21-02 (written order).
                 fendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
                    eliminary hearing OR ❑real hearing /Rule 20.
             efendant states true name iy~asis charged ❑ is
          ~ Cou ORDERS the caption ofthe IndictmenUInformation be changed to reflect defendants different true name. Counsel are directed to file all
               re documents reflecting the true name as stated on the record.
             Defendant advised of consequences~o~ff        statement in financial affidavit. ❑Financial Affidavit ordered SEALED.
           ❑
           ~ A,,~ttorney: Elena Sadowskv, DFPD IJ Appointed ❑ Prev. Appointed ❑ Poss. Contribution (see separate order)
                 ~~///


         ~           pecial appearance by:
             Governments request for detention is:
          ❑ Contested detention hearing is held.
                                                          GRANTED ❑ DENI
                                                       Defendant is ordered:
                                                                                        ❑WITHDRAWN ❑CONTINUED ~ ~
                                                                             Permanently Detained ❑Temporarily Detained (see separate order).
                                                                                                                                               P~~~`
                                                                                                                                                       ~ ~( _



            BAIL FIXED AT $                                         (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)
          ❑ Government moves to UNSEAL Complaint/IndictmenUlnformation/Entire Case: ❑ GRANT'ED ❑DENIED
          ❑ Preliminary Hearing waived. ❑ Class B Misdemeanor ❑ Defendant is advised of maximum penalties
            This case is assigned to Magistrate Judge                                     .Counsel are directed to contact the clerk for the setting
            of all further proceedings.
          ❑ PO/PSA WARRANT ❑Counsel are directed to contact the clerk for
            District Judge                                                 for the setting of further proceedings.
          ~ Preliminary Hearing set for                        at 4:30 PM
          ~P1A set for:                                     at 1 I:00 AM in LA; at 10:00 AM in Riverside; at 10:00 AM in Santa Ana
          ❑ Government's motion to dismiss case/defendant                                                 only: ❑GRANTED ❑DENIED
          ❑ Defendants motion to dismiss for lack of probable cause: ❑GRANTED ❑DENIED
          ❑ Defendant executed Waiver of Rights. ❑Process received.
          ~ Court ORDERS defendant Held to Answer to                                      District of
              ❑ Bond to transfer, if bail is posted. Defendant to report on or before
              ❑ Warrant of removal and final commitment to issue. Date issued:                                  By CRD:
             ❑ Warrant of removal and final commitment are ordered stayed until
          ~ Case continued to (Date)                                 (Time)                                          AM /PM
            T e of Hearing:                             Before Judge                                                /Duty Magistrate Judge.
             roceedings will be held in the ❑Duty Courtroom                                   ❑Judge's Courtroom
            Defendant committed to the custody of the U.S. Marshal ❑Summons: Defendant ordered to report to USM for processing.
          ~ Abstract of Court Proceeding(CR-53)issued. Copy forwarded to USM.
             A stract of Order to Return Defendant to Court on Next Court Day(M-20)issued. Original forwarded to USM.
                LEASE O         ER NO:
             Other:
                            PSA ❑ USPO           FINANCIAL                         R-10      CR-29                    EADY
                                                                                                                      Deputy Clerk Initials                     c/
                                                                                                                                                                d

          M-5 (10/13)                             CALENDAR/PROCEEDING SHEET -LOCAL/OUT-OF-DISTRICT CASE                                        Page 1 of 1




http://156.131.20.221/cacdlCrimIntakeCal.NSF/1222c8c990b1f46c882571 d2006fl655?Op... 7/18/2022
